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                UNITED STATES COURT OF INTERNATIONAL TRADE


                                                     )
PRIMESOURCE BUILDING PRODUCTS,                       )
INC.,                                                )
                                                     )
                              Plaintiff,             )
                                                     )
                        v.                           )      Court No. 20- 03911
                                                     )
UNITED STATES,                                       )
                                                     )
                              Defendant.             )
                                                     )


                                             ORDER

       Upon consideration of the Consent Motion to Intervene as of Right as Defendant-

Intervenor filed by proposed Defendant-Intervenor Mid Continent Steel & Wire, Inc. (“Mid

Continent”) in the above-captioned action, it is hereby:

       ORDERED that the Consent Motion is GRANTED; and it is further

       ORDERED that Mid Continent may participate in the above-captioned action as a

Defendant-Intervenor.


                                   _____________________________
                                               Judge

Dated: January ___, 2021
       New York, New York




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